142 F.3d 446
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.Arnold Robert CHASTEEN, Defendant-Appellant.
    No. 97-10043.D.C. No. CR-94-00308-RCB.
    United States Court of Appeals,Ninth Circuit.
    Submitted April 20, 1998.**Decided April 23, 1998.
    
      Appeal from the United States District Court for the District of Arizona Robert C. Broomfield, District Judge, Presiding.
      Before BRUNETTI, RYMER and T.G. NELSON, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      Arnold Robert Chasteen appeals the sentence imposed by the district court on remand from this court for resentencing for his methamphetamine conviction.  His attorney has filed a brief stating that he can identify no issues for review, and a motion to withdraw as counsel of record pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).  Our examination of counsel's brief, Chasteen's supplemental pro se brief, and our independent review of the record under Penson v. Ohio, 488 U.S. 75, 83, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988), disclose no issues for review.
    
    
      3
      Accordingly, we grant counsel's motion to withdraw and affirm the district court's judgment.
    
    
      4
      AFFIRMED.
    
    
      
        **
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    